              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
               CIVIL CASE NO. 1:23-cv-00284-MR-WCM


RYAN CRAIG STEVENS,             )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                MEMORANDUM OF
                                )               DECISION AND ORDER
MONTREAT COLLEGE, DR. PAUL      )
J. MAURER, DR. DANIEL BENNETT, )
DR. DOROTHEA SHUMAN, and        )
DR. RYAN ZWART,                 )
                                )
                   Defendants.  )
_______________________________ )

    THIS MATTER is before the Court on the following motions:

    (1)     Defendant Montreat College’s Motion to Dismiss Second
            Amended Complaint [Doc. 18];

    (2)     The Individual Defendants’ Motion to Dismiss Second Amended
            Complaint [Doc. 24];

    (3)     The Plaintiff’s Motion for Court to State the Deadline for Service
            of Summons [Doc. 40];

    (4)     The Plaintiff’s Motion for Appropriate Sanctions [Doc. 41];

    (5)     The Plaintiff’s Motion for Default Judgment [Doc. 53];

    (6)     The Plaintiff’s Motion for Leave to File a Third Amended
            Complaint [Doc. 54];

    (7)     The Plaintiff’s Motion for Leave to File a Fourth Amended
            Complaint [Doc. 55];


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       (8)   The Plaintiff’s Motion for Extension of Time [Doc. 56];

       (9)   The Plaintiff’s Motion for Order Deeming Defendants Properly
             and Timely Served [Doc. 57];

       (10) The Plaintiff’s Motion to Withdraw Case [Doc. 58];

       (11) The Individual Defendants’ Motion to Quash [Doc. 49]; and

       (12) The Defendants’ Motion to Strike Fourth Amended Complaint
            [Doc. 51].

I.     PROCEDURAL BACKGROUND

       The lengthy procedural history of this case is detailed in prior orders of

this Court. [Docs. 21, 32]. It will therefore not be repeated in full here. The

Plaintiff Ryan Craig Stevens (“Plaintiff”) originally filed suit in Buncombe

County Superior Court on October 25, 2022, alleging several federal civil

rights claims related to his time as a student at, and his eventual expulsion

from, Montreat College.      [Doc. 1].   The Plaintiff names as Defendants

Montreat College, as well as Dr. Paul J. Maurer, Dr. Daniel Bennett, Dr.

Dorothea Shuman, and Dr. Ryan Zwart (collectively, “the Individual

Defendants”).     On October 6, 2023, prior to service on the Individual

Defendants, Montreat College removed the action to this Court. [Id.]. The

Plaintiff thereafter filed his Second Amended Complaint, the now operative

complaint in this matter, on December 29, 2023. [Doc. 14].




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      In his Second Amended Complaint, the Plaintiff brings claims under 42

U.S.C. § 1983 for the violation of his First Amendment rights to free exercise

of religion and free speech and for violation of his due process rights under

the Fourteenth Amendment; Title IV of the Civil Rights Act of 1964, 42 U.S.C.

§§ 2000c-2 to 2000c-9; Title IX of the Education Amendments of 1972, 20

U.S.C. § 1681; the Age Discrimination Act of 1975 (“ADA”), 42 U.S.C. § 6101

et seq.; the Family Educational Rights and Privacy Act of 1964 (“FERPA”),

20 U.S.C. § 1232g; and 25 C.F.R. § 11.404. [Doc. 14].

      Montreat College and the Individual Defendants now move to dismiss

the Plaintiff’s Second Amended Complaint.1 [Docs. 18, 24]. The Plaintiff

filed a response, which is primarily directed to the Individual Defendants’

Motion to Dismiss. [See Doc. 27]. Despite being given the opportunity to do

so [Docs. 26, 32], the Plaintiff has not filed any other responses, and the time

to do so has passed.

      Having been fully briefed, this matter is now ripe for disposition.




1 In addition to moving for dismissal under Rule 12(b)(6), the Individual Defendants also

move to dismiss the Plaintiff’s claims against them pursuant to Rules 12(b)(2), (b)(4) and
12(b)(5). Because the Court finds Rule 12(b)(6) to be dispositive of the Defendants’
motions, the Court need not address the Defendants’ arguments regarding insufficient
process, insufficient service of process, and a lack of personal jurisdiction.


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II.     STANDARD OF REVIEW

        To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Iqbal, 556 U.S. at 678.

        The purpose of Rule 12(b)(6) “is to test the sufficiency of a complaint

and not to resolve contests surrounding the facts, the merits of a claim, or

the applicability of defenses.” Presley v. City of Charlottesville, 464 F.3d

480, 483 (4th Cir. 2006) (citation and internal quotation marks omitted).

When deciding a motion to dismiss under Rule 12(b)(6), a court “must accept

as true all of the factual allegations contained in the complaint,” and must

“draw all reasonable inferences [from those facts] in favor of the plaintiff.”

E.I. du Pont de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435, 440 (4th

Cir. 2011) (citations and internal quotation marks omitted). The Court need

not, however, accept unsupported legal allegations, see Revene v. Charles

Cty. Comm’rs, 882 F.2d 870, 873 (4th Cir. 1989), legal conclusions couched

as factual allegations, Papasan v. Allain, 478 U.S. 265, 286 (1986), or



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conclusory factual allegations devoid of any reference to actual events,

United Black Firefighters of Norfolk v. Hirst, 604 F.2d 844, 847 (4th Cir.

1979).

III.     FACTUAL BACKGROUND

         Viewing the well-pled allegations set forth in the Second Amended

Complaint as true, the following is a recitation of the relevant facts.

         The Plaintiff was a student at Montreat College from the beginning of

the Fall semester of 2019 through October 22, 2020. [Doc. 14 at ¶ 12]. The

Plaintiff alleges that during his time as a student, the Defendants forced him

to “censor his speech and religious expression on and off campus.” [Id. at

¶ 14]. This included “using preferred pronouns that contradict a person’s

biological gender” and “sharing the restroom and tent with someone of a

different biological gender.” [Id.]. The Plaintiff alleges that he was wrongfully

expelled because of his refusal to comply with Montreat College’s

“Community Standards,” which he alleges include “speech-restrictive,

overbroad, and vague” policies. [Id. at ¶¶ 19, 21]. In his Complaint, the

Plaintiff refers to several different instances that he alleges violated his right

to religious freedom, including Defendant Dr. Shuman “promot[ing] the

LGBTQ agenda” in her curriculum, telling Plaintiff not to pray for an individual

and then threatening the Plaintiff not to tell anyone that she had done so,



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and ordering him to change his speech topic “regarding the purpose and plan

God has for us.” [Id. at ¶¶ 27, 29, 30]. The Plaintiff also alleges that on one

occasion, Dr. Bennett greeted the Plaintiff by raising his voice and stating,

“What are you, 40! [sic]” [Id. at ¶ 33].

      The Plaintiff describes additional issues with his assignments and

grades during his time at Montreat. [Id. at ¶¶ 44-47]. He describes an

incident where Dr. Shuman “forced [the Plaintiff] to take midterm exams

(outside of class time), when he was sick, even though a doctor’s excuse

was presented.” [Id. at ¶ 42]. In another instance, he alleges that Dr.

Shuman refused to give him feedback on a completed assignment even

though she provided feedback to other students. [Id. at ¶ 52]. He also

alleges that Dr. Shuman filed a complaint against him which led to Dr.

Bennett issuing the Plaintiff an interim suspension. [Id. at ¶ 54]. The Plaintiff

also alleges that Dr. Zwart sent him an “unprofessional email” and that he

failed to resolve an issue that the Plaintiff was having with submitting his

assignments online. [Id. at ¶¶ 56-57].

      Finally, in November 2020, Montreat College notified the Plaintiff’s

employer of his dismissal from the Outdoor Recreation Studies Department,

which the Plaintiff alleges caused him to resign from his position as a

volunteer firefighter. [Id. at ¶ 59].



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IV.     DISCUSSION

        A.    Section 1983 Claims

        The Plaintiff’s First and Fourteenth Amendment claims are brought

pursuant to 42 U.S.C. § 1983. “Under 42 U.S.C. § 1983, a plaintiff must

establish three elements to state a cause of action: (1) the deprivation of a

right secured by the Constitution or a federal statute; (2) by a person; (3)

acting under color of state law.” Jenkins v. Medford, 119 F.3d 1156, 1159-

60 (4th Cir. 1997).

        The Plaintiff brings constitutional claims against Montreat College, a

private educational institution, and the Individual Defendants, all of whom are

private parties employed by Montreat College. The Fourth Circuit has held

that a private party’s action can be treated as state action where “the private

party acts (1) in an exclusively state capacity, (2) for the state’s direct benefit,

or (3) at the state’s specific behest.” Modaber v. Culpeper Mem’l Hosp., Inc.,

674 F.2d 1023, 1025 (4th Cir. 1982). Nowhere in his Complaint does the

Plaintiff allege any facts showing that any of the Defendants were acting in

a state capacity, at the direction of the state, or for the state’s benefit.

Therefore, the Plaintiff has failed to allege that any of the Defendants were

acting under color of state law, and his § 1983 claims must be dismissed.




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      B.    Title IV Claim

      Title IV of the Civil Rights Act, codified in 42 U.S.C. §§ 2000c-2 to

2000c-9, is part of a statutory scheme concerning the desegregation of public

schools and does not on its own provide a private cause of action. Dai v. Le,

No. 23-30504, 2024 WL 415458, at *5 (5th Cir. Feb. 5, 2024). The Plaintiff’s

claims under Title IV therefore fail as a matter of law and must be dismissed.

      C.    Title IX Claim

      Title IX provides that “[n]o person in the United States shall, on the

basis of sex, be excluded from participation in, be denied the benefits of, or

be subjected to discrimination under any education program or activity

receiving Federal financial assistance.” 20 U.S.C. § 1681(a). “In the Title IX

context, discrimination ‘means treating that individual worse than others who

are similarly situated.’” Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586,

618 (4th Cir. 2020), as amended (Aug. 28, 2020) (quoting Bostock v. Clayton

Cnty., Georgia, 590 U.S. 644, 657 (2020)) (alterations omitted).

      The Plaintiff has not alleged any facts that support a claim of sex

discrimination under Title IX. In fact, in his Title IX claim the Plaintiff presents

his allegations in terms of religious discrimination, asserting that “Defendants

acted deliberately indifferent toward Plaintiff, due to his religious expression,

speech, and age.” [Doc. 14 at ¶ 89]. Furthermore, the events alleged by the



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Plaintiff do not describe any instance of him being treated differently from

others similarly situated because of his sex. Therefore, the Plaintiff’s Title IX

claim will be dismissed with prejudice.

      D.    ADA Claim

      The ADA provides, in pertinent part, that “no person in the United

States shall, on the basis of age, be excluded from participation in, be denied

the benefits of, or be subjected to discrimination under, any program or

activity receiving Federal financial assistance.” 42 U.S.C. § 6102. The ADA

also provides that:

            (1) When any interested person brings an action in
            any United States district court for the district in which
            the defendant is found or transacts business to enjoin
            a violation of the Act . . . , such interested person
            shall give notice by registered mail not less than 30
            days prior to the commencement of the action to the
            Secretary of Health and Human Services, the
            Attorney General of the United States, and the
            person against whom the action is directed . . . .

            (2) The notice . . . shall state the nature of the alleged
            violation, the relief to be requested, [and] the court in
            which the action will be brought . . . . No action
            described in paragraph (1) shall be brought . . . (B) if
            administrative remedies have not been exhausted.

42 U.S.C. § 6104(e).

      The Plaintiff here has made no assertion that he has exhausted his

administrative remedies by giving notice to the required parties. Therefore,



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his claim must be dismissed on this basis alone. Additionally, the only

allegation that the Plaintiff makes that relates to his age is an incident where

Dr. Bennet said to him, “What are you, 40! [sic].” [Doc. 14 at ¶ 33]. This

seemingly isolated incident is not sufficient to state a viable claim for age

discrimination under the ADA, as it provides no indication that the Plaintiff’s

age was even a factor that led to the academic sanctions imposed against

him or to his ultimate expulsion. In fact, nowhere in the Second Amended

Complaint does the Plaintiff even allege what his age is.

      For these reasons, the Plaintiff’s ADA claim will be dismissed with

prejudice.

      E.     FERPA Claim

      FERPA’s statutory provisions do not create enforceable rights and

cannot support a private right of action. Gonzaga Univ. v. Doe, 536 U.S.

273, 287 (2002). Therefore, the Plaintiff has no viable claim under FERPA,

and this claim will be dismissed with prejudice.

      F.     False Imprisonment Claim

      The Plaintiff also alleges a claim under 25 C.F.R. § 11.404, which

provides that “[a] person commits a misdemeanor if he or she knowingly

restrains another unlawfully so as to interfere substantially with his or her

liberty.” 25 C.F.R. § 11.404. This regulation, however, is part of a regulatory



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scheme that applies to the Courts of Indian Offenses and therefore is not an

available claim in this Court. 25 C.F.R. § 11.104. Therefore, the Plaintiff’s

claim under this regulation fails as a matter of law and must be dismissed.

      G.    Leave to Amend

      After the Defendants filed their Motions to Dismiss the Plaintiff’s

Second Amended Complaint, the Plaintiff filed a Motion for Leave to File a

Third Amended Complaint [Doc. 54], a Motion for Leave to File a Fourth

Amended Complaint [Doc. 55], and a Motion to Withdraw Case [Doc. 58].

Under Rule 15 of the Federal Rules of Civil Procedure, a “court should freely

give leave [to amend] when justice so requires.” Fed. R. Civ. P. 15(a)(2).

The Fourth Circuit “ha[s] interpreted Rule 15(a) to provide that ‘leave to

amend a pleading should be denied only when the amendment would be

prejudicial to the opposing party, there has been bad faith on the part of the

moving party, or the amendment would have been futile.’” Laber v. Harvey,

438 F.3d 404, 426 (4th Cir. 2006) (quoting Johnson v. Oroweat Foods Co.,

785 F.2d 503, 509 (4th Cir.1986)).

      Here, the Court finds that any further amendment by the Plaintiff would

be futile, as the facts presented by the Plaintiff do not state any viable claim

for relief, and the proposed Third and Fourth Amended Complaints would

pose the same issues under Federal Rule of Civil Procedure 12(b)(6). The



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Court further finds that the interests of justice do not require granting the

Plaintiff’s motion for leave to amend his complaint for a third or fourth time.

The Defendants have already filed motions to dismiss and have otherwise

invested significant time and resources into defending this action, which had

already been pending for over a year when the Court allowed the Plaintiff to

file a Second Amended Complaint. [Doc. 4]. Allowing further amendment

would prejudice the Defendants, as they would have to conduct further

research and revise their pending motions to dismiss based on the new legal

theories presented by the Plaintiff. Finally, the procedural history of this case

and the excessive filings by the Plaintiff lead this Court to find that the Plaintiff

is acting in bad faith by attempting to further delay the inevitable dismissal of

his case. Accordingly, the Plaintiff’s request to voluntarily dismiss this action

so that he may refile it at a later date must be denied as well.

      For all of these reasons, the Plaintiff’s Motion for Leave to File a Third

Amended Complaint [Doc. 54] and Motion for Leave to File a Fourth

Amended Complaint [Doc. 55] will be denied. For the same reasons, the

Plaintiff’s Motion to Withdraw Case [Doc. 58] will also be denied, and the

Defendants’ Motion to Strike Fourth Amended Complaint [Doc. 51] will be

granted.




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      H.    Sanctions

      As for the Plaintiff’s Motion for Appropriate Sanctions [Doc. 41], none

of the actions of defense counsel described in said motion warrants the

imposition of sanctions.     To the contrary, it appears that counsel was

attempting to be cooperative and to resolve the issues with service with the

Plaintiff without either party having to make additional court filings. Indeed,

none of the exhibits the Plaintiff submits in support of his motion for sanctions

demonstrate anything other than respectful and professional conduct and

communication on the part of defense counsel. Therefore, the Plaintiff’s

Motion for Appropriate Sanctions [Doc. 41] will be denied.



                                    ORDER

      IT IS, THEREFORE, ORDERED that:

      (1)   The Defendant Montreat College’s Motion to Dismiss Second

            Amended Complaint [Doc. 18] and the Individual Defendants’

            Motion to Dismiss Second Amended Complaint [Doc. 24] are

            GRANTED pursuant to Rule 12(b)(6) of the Federal Rules of Civil

            Procedure, and the Plaintiff’s Second Amended Complaint [Doc.

            14] is DISMISSED WITH PREJUDICE;




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   (2)   The Plaintiff’s Motion for Court to State the Deadline for Service

         of Summons [Doc. 40], Motion for Appropriate Sanctions [Doc.

         41], Motion for Default Judgment [Doc. 53], Motion for Leave to

         File a Third Amended Complaint [Doc. 54], Motion for Leave to

         File a Fourth Amended Complaint [Doc. 55], Motion for Extension

         of Time [Doc. 56], Motion for Order Deeming Defendants

         Properly and Timely Served [Doc. 57], Motion to Withdraw Case

         [Doc. 58] are DENIED; and

   (3)   The Individual Defendants’ Motion to Quash [Doc. 49] and

         Defendants’ Motion to Strike Fourth Amended Complaint [Doc.

         51] are GRANTED.

   The Clerk of Court is respectfully directed to terminate this civil action.

   IT IS SO ORDERED.

                           Signed: November 4, 2024




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